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15 October 2015



Mike Padden




I am an audio and video forensic expert and have been practicing for over 30 years.
I have testified in several courts throughout the United States and worked on
various international cases. My forensic practices for audio investigation include
digital and analogue audio authentication, restoration and voice identification. As a
video forensic expert, my practices include video authentication, restoration and
identification.

On or about June 1st, 2015, I received a USB thumb drive containing 6 video files
from your office. All six video files are in the MOV format. The files are as listed:

   ●       IMG_0591.MOV
   ●       IMG_0592.MOV
   ●       IMG_0593.MOV
   ●       IMG_0594.MOV
   ●       IMG_0595.MOV
   ●       IMG_0596.MOV




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The contents of the thumb drive and the contents of the folder on the thumb drive
are shown below:




Contents of Thumb Drive




Contents of Folder on Thumb Drive

I was asked to authenticate and clarify the audio content of IMG_0592.MOV.
Forensic Authentication is the process of determining whether or not a recording is
an original or an exact copy of the original recording that was created and
accurately represents the events as they occurred. The analysis process involves




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critical listening analysis, visual analysis of the waveform and spectrogram, and a
digital information analysis.

Forensic Audio Clarification is the process of using non-destructive signal processors
to make dialogue and events within an audio recording more audible and
intelligible. The signal processing used does not alter the events as they occurred,
and is only used as a means of better understanding what occurred within the
recording.

I began by making exact copies of the video files and transferred them to my
forensic computer. I performed a hash test to ensure that the video files I
transferred were bit-for-bit copies of the original video files I received. The hash
test is shown below:




Video Evidence Hash Test




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As the hash test shows, the files I extracted are bit-for-bit copies of the files found
on the thumb drive I received. The files were organized differently by the thumb
drive and the forensic computer drive, but the files are still exact matches when
looking at each individually. I used these copies for my analysis and clarification in
order to maintain the quality of the original videos I received. After making exact
copies of the video files, I extracted the audio from IMG_0592.MOV by using
Adobe Audition. The extracted audio was saved as an uncompressed WAV file to
maintain the highest quality possible. This audio was used during the Forensic
Authentication process, as well as the Forensic Audio Clarification process.

                                      Authentication

The forensic digital video authentication investigation determines the originality,
authenticity and integrity of a video recording. Through this investigation, a video
forensic expert determines whether a recording is an exact original or a bit for bit
second generation copy. The investigation requires critical listening analysis, visual
analysis of the waveform and spectrogram, and a digital information analysis.

When authenticating digital video evidence, I analyze both the audio and video
portions of the recording. To do so, I will view the evidence as a whole and analyze
the video and audio separately. Upon my initial viewing of IMG_0592.MOV, I did
not find any anomalies that would suggest the video had been tampered with.

To complete a thorough analysis, I created three exemplar recordings using the
same make and model iPod Touch that was used to create the original recordings.

   ● IMG_0001.MOV
   ● IMG_0002.MOV
   ● IMG_0003.MOV
Using Adobe Audition, I extracted the audio from the video files and saved the
audio files as uncompressed WAV files. For this analysis, I used the audio from the
IMG_0001.MOV and the IMG_0003.MOV recordings. These are referred to as
Comparison 1 and Comparison 3 respectively.

Digital Format/Structure Analysis

For the digital format/structure information analysis, I analyze the metadata and
hex information contained within the files. This is stored within the file and holds
information regarding the quality, settings, and devices used to create the


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recording. I use Adobe Audition, MediaInfo, WinHex, and HxD to analyze this
information.

The metadata for IMG_0592.MOV is shown below:




IMG_0592 Metadata 1




IMG_0592 Metadata 2




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IMG_0592 Metadata 3




The metadata for IMG_0592.MOV revealed the following pertinent information:

   ●       MPEG-4 format
   ●       Apple Quicktime signature
   ●       iPod touch signature
   ●       Advanced Video Codec signature
   ●       Variable video frame rate
   ●       1280 x 720 resolution
   ●       Advanced Audio Codec signature
   ●       Constant audio bit rate
   ●       64 Kilobits per second
   ●       1 channel (mono)
   ●       44.1kHz sample rate
   ●       2013-05-10 encoded date




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The metadata for Comparison 1 is shown below:




Comparison 1 Metadata 1




Comparison 1 Metadata 2




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Comparison 1 Metadata 3




The metadata for Comparison 1 revealed the following pertinent information:

    ● MPEG-4 format
    ● Apple Quicktime signature
    ● iPod touch signature
    ● Advanced Video Codec signature
    ● Variable video frame rate
    ● 1280 x 720 resolution
    ● Advanced Audio Codec signature
    ● Constant audio bit rate
    ● 64 Kilobits per second
    ● 1 channel (mono)
    ● 44.1kHz sample rate
As the metadata comparison shows, the file formats are consistent between
IMG_0592.MOV and Comparison 1. The only differences that can be seen in this
information is the frame rate of the videos, which is due to the variable frame rate
setting as listed above.

The images below show the hex information for IMG_0592.MOV:




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IMG_0592 Hex Analysis 1




IMG_0592 Hex Analysis 2



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As the images show, there are various signatures showing that the video was made
using an Apple iPod Touch device. I did not find any other signature from software
or other devices. If the video had been opened in editing software, this would be
visible within the hex information.

The images below show the hex information from the comparison recording:




Comparison Hex Analysis 1




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Comparison Hex Analysis 2

As these images show in comparison with the hex information found in
IMG_0592.MOV, both video files have the same signatures signifying that an
Apple iPod Touch created them.

Digital Measurement Analysis of Audio Information

For the measurement analysis, I analyze the waveform, spectrogram, spectrum,
and power of the audio recording. To complete this analysis, I use Adobe Audition,
iZotope RX4 Advanced, and WaveSurfer.

The waveform view and spectrogram view of IMG_0592.MOV are shown below:




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IMG_0592 Waveform Analysis




IMG_0592 Spectrogram Analysis

The noise floor can be seen in the spectrogram as the dark purple present
throughout the recording. The noise floor is the sum of all extraneous noise in a
recording, including any background noise and any noise created by the device
itself. The consistent noise floor throughout the recording suggests that no edits


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have been made. The waveform is also continuous throughout the recording and
does not show any signs of tampering.

For further comparison, I analyzed the comparison files I created using the iPod
Touch I obtained for the case. The waveform and spectrogram view for
Comparison 1 are shown below:




Comparison 1 Waveform Analysis




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Comparison 1 Spectrogram Analysis




As the Comparison 1 images show, the noise floor, as well as base noise level, are
almost identical between the recordings. Upon closer analysis of the spectrogram
view, the high frequency cutoff can be seen. The images below show a close
spectrogram view of the audio from IMG_0592.MOV and the audio from
Comparison 1:




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IMG_0592 Spectrogram High Frequency Cutoff




Comparison 1 Spectrogram High Frequency Cutoff

As the images show, both recordings have a high frequency cutoff of roughly 18800
Hz (18.8 kHz). This shows consistency in both the quality and recording
characteristics of the device and supports the conclusion that IMG_0592.MOV was
created using an iPod Touch and was not tampered with after its creation.



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The images below show the spectrum analysis of IMG_0592.MOV and
Comparison 1:




IMG_0592 Spectrum Analysis




Comparison 1 Spectrum Analysis

The spectrum shows the overall frequency content of the audio recording.
Frequency is shown on the x axis and amplitude is shown on the y axis. As the two


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images show, IMG_0592.MOV and Comparison 1 are consistent with respect to
cutoff frequency and overall slope. A boost in frequency content can be seen at 15
kHz in both spectrums, which is most likely an inherent characteristic of the
recording device. This characteristic in IMG_0592.MOV is consistent with an
original iPod Touch video recording.

The images below show the beginning portion of the waveform for
IMG_0592.MOV and Comparison 1:




IMG_0592 Waveform Analysis




Comparison 1 Waveform Analysis

These views are close zooms on the beginning of each waveform to show the
individual sample values that make up the digital audio file. Time is represented on


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the x axis and sample value is represented on the y axis. When a file is resaved and
compressed, it will often alter the file and cause the audio to begin with a series of
0 value samples. IMG_0592.MOV does not begin with any 0 value samples and is
consistent with the audio from Comparison 1. This characteristic in
IMG_0592.MOV is consistent with an original iPod Touch video recording.

The images below show the power plot for IMG_0592.MOV and Comparison 1:




IMG_0592 Power Plot Analysis




Comparison 1 Power Plot Analysis

The above images display the power over time within the recordings, with time on
the x axis and power in decibels on the y axis. As the image shows,
IMG_0592.MOV has a continuous average power level that is consistent with
Comparison 1. There are no breaks or anomalies that would suggest that
IMG_0592.MOV was tampered with.

There is a small dip in the power level around 0:05 in IMG_0592.MOV. This is due
to the device being hit and an automatic gain setting attenuating the input level.
The gain then gradually increases back to its original level. The time it takes for the
input to reach its original level after attenuation is about two seconds. For


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reference, I compared the evidence with Comparison 3 in which I performed the
same action of hitting the device to initiate the automatic gain control.

The power plot for Comparison 3 is shown below:




Comparison 3 Power Plot Analysis

As the image shows, when the device was hit, the gain is attenuated. The time it
took for the gain to reach its original level was roughly two seconds. This automatic
gain control characteristics are consistent with an original recording made on an
iPod Touch.

Critical Listening

In order to complete an audio authentication, I carefully listen through the audio
recording multiple times to become familiar with it. I will note any characteristics of
the recording, as well as any anomalies that I hear. Such anomalies would be
audible as jumps in the sound, disturbances in the noise floor and sudden changes
in level that could not be explained by movement within the video. I will then
analyze these points in conjunction with my visual and digital analysis.

When listening to the audio separately from the video, I did not hear any anomalies
that would suggest an edit or that tampering had occurred. The audio is continuous
throughout the recording and is consistent with digital audio recordings I have
analyzed in the past.

I then critically listened to Comparison 1 to compare the audible characteristics
with IMG_0592.MOV. I found the audio in both files to have the same sound
characteristics in terms of quality of the audio and amount of internal noise
introduced by the device. I found no differences in terms of audio quality between
the recordings based on my auditory analysis.



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Authentication Conclusion

Based on my critical listening analysis, visual analysis of the waveform and
spectrogram, and digital information analysis, I conclude beyond a reasonable
degree of scientific certainty that the video IMG_0592.MOV is consistent with an
original video and that it accurately represents the events as they occurred.

                                         Clarification

An audio clarification is done to increase the intelligibility of the audio in a recording
so that one can better understand the events as they occurred. Clarified versions of
the audio are to be used in conjunction with the original audio when submitted to
the court. When clarifying the audio for IMG_0592.MOV, I used forensically
accepted audio signal processing tools that did not alter the events as they
occurred within the video.

Our clarification process follows both SWGDE Best Practices as well as our own
Standard Operating Procedures for Audio Clarification. At Primeau Forensics, we use
Adobe Audition and iZotope RX4 Advanced to perform forensic audio clarifications.
These are both approved and accepted software in the forensic community.

I began the clarification process by critically listening to the recording to identify
problems with the recording. When I first listened to the audio, I detected the
sound of a plane flying overhead in the last portion of the audio. For this reason, I
processed the last portion of the audio differently than the beginning in order to
best address noise content. This was done on the first version of the clarification.

We completed three versions of the clarification using different processors and
settings to be used together to better understand the events as they occurred. The
signal processors we used included:

   ●    Noise Reduction
   ●    Multiband Compression
   ●    Equalization
   ●    High Pass/Low Pass Filters
   ●    Notch Filters
   ●    Tube-modeled Compression
   ●    Gain Adjustment


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My findings below were found while specifically referencing
IMG_0592_Clarification_1.wav. The following steps and images show the
specific processing that was used for this file:

    1. I began with a high pass filter and low pass filter combination to eliminate
       noise outside of the specified range (155.7 Hz to 10168.1 Hz). This range
       was set based on the spectrogram analysis and critical listening.




High Pass Filter/Low Pass Filter

    2. I used a denoiser to remove other noise content within the same frequency
       range of the dialogue. This was done in two passes at smaller amounts of
       reduction to minimize the amount of artifacts introduced and increase the
       effectiveness of the processor.




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Denoiser 1




Denoiser 2

    3. I used a notch filter to remove a narrow band of frequencies centered around
       448.4 Hz during the end portion of the audio (0:42 - end). This frequency
       range mainly contained the noise of the plane and did not contain dialogue.



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Notch Filter

    4. I used a multiband compressor to increase the level of some frequencies
       while compressing others. I also used this to further eliminate high and low
       frequency noise outside of the specified range (136 Hz to 5365 Hz).




Multiband Compressor



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    5. I used an equalizer to further decrease the noise of the plane and boost the
       dialogue in the end portion of the audio (0:42 - end). The equalizer removed
       lower frequencies and boosted some frequencies in the “high-mid” range
       where voice content is most present.




Equalizer

    6. I used another low pass filter to further remove high frequency noise. This
       was done with a smoother slope to avoid creating further artifacts.




Low Pass Filter




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I referenced the audio enhancements when creating the following transcript that
were recorded across the street on the iPod Touch. Other witnesses in the area that
heard the altercation may have interpreted the dialogue transcribed below
differently for the following reasons:

   ●    Emotional effect on recollection (fear and stress factors)
   ●    Active vs Passive Listening (level of attention to the events occurring)
   ●    Physical or body limitations to sound perception (hearing ability, wax build
        up)
   ●    Physical barriers between events and witnesses (windows, doors,
        open/closed)

The following transcript represents my perception of the background ambience and
dialogue spoken during the recording in video IMG_0592.MOV using critical
listening skills. I have found the following opinions regarding content of the
dialogue spoken; all voices heard appear to be live and consistent throughout the
audio and are not prerecorded:

   ●    0:08   -   “(Unintelligible)...My name is Mookie”
   ●    0:11   -   “(Unintelligible)...45-9 (Unintelligible) Officer Shot”
   ●    0:13   -   “(Unintelligible)...Ask him where he was shot”
   ●    0:15   -   “(Unintelligible)...Get out of here”
   ●    0:17   -   “(Unintelligible)”
   ●    0:18   -   “(Sirens heard for the first time)
   ●    0:24   -   “(Unintelligible)...pretty good’
   ●    0:26   -   “Damn freakin’… (unintelligible).”
   ●    0:27   -   “(Unintelligible)...Let me go”
   ●    0:29   -   “In the alley”
   ●    0:38   -   “Stand up”
   ●    0:43   -   “Come out (unintelligible)...put those hands up now”
   ●    0:49   -   “(Unintelligible)”




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                                           Exemplar

After creating the three enhancements, I believed that I heard gunshots at the
00:53 timecode marker in the Gaines recording titled “IMG_0592.MOV”. Working
with a reasonable hypothesis for comparison, I flew to Minnesota in August of 2015
to perform further audio analysis and investigation at the home where the
altercation occurred.

My goal while on location was to observe the surrounding area and create an audio
exemplar so I could reach a definitive answer regarding the uncertainty of the
presence of gunshots in the original audio evidence titled “IMG_0592.MOV”. I
familiarized myself with the home and its surrounding property and reached a
comfortable medium with the acoustics of the area.

The testing results regarding the presence of gunshots were inconclusive as a result
of:

       The existence of sounds present during the exemplar recording that did not
        take place during the original event documented in the Gaines recording.
       Conflicting testimony of eye witnesses and their positioning during the
        altercation.

My ultimate goal while in Minnesota was to confidently reinforce my opinions
expressed within this forensic report using scientific testing on site.


                                          Conclusion

In conclusion, Gaines recording of file IMG_0592.MOV is an accurate
representation of the altercation that it depicts. The three enhancement work
product files that are attached to this report will aid the court in understanding the
dialogue spoken that I have outlined above to the best of my ability.

Based on the quality of the audio, a voice identification analysis could not be
performed. A voice identification analysis requires a minimum of 10 to 20 words
spoken and enough frequency content for a thorough analysis. This audio recording
did not contain enough spoken words from each individual and did not meet the
standards for a thorough voice identification.


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I reserve the right to amend my conclusions and opinions as additional materials
are provided in conjunction with future testimony.

Respectfully,




Edward J Primeau, CCI, CFC




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